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                                                              U.S.
                                                                 OIsTftICT
                                                                         COUR'f
                        IN -THE I'NITED SfATES DISTRICT COURT   sJ',vr'NtiAll
                                                                          0lv.
                                           DISTRICT OF
                                                              ?018{rR27 Ffitr53
                        FOR THE          SOUTHERN                      GEORGTA

                                          SAVA}iINAII DIVXSION



THE UNITED      STATES OF AMERICA,

                      PlaJ-nclrI,


                        v.                                        4:1?CR208

COLIS JERMATNE AIJLEN,

                      De fendant .




                                               ORDER




       Counsel-    in        the    above - capt. ioned        case   have    advised     the      Court

that   all   pretrial         motions       have been complied          wit.h and/or        that     all-

matters      raised      in        the    parties.      motj_ons have         been      resolved      by

agreement.     Therefore,            a hearing       in this    case is deemed unnecessary.




       so oRDERED, Ai"                   277aay      of March ,       2or8.




                                                  UNITED STATES MAGISTRATE .]UDGE
                                                  SOUTHERN DISTRICT          OF GEORGfA
